Case 2:98-cr-20302-.]PI\/| Document 53 Filed 06/24/05 Page 1 of 2

IN 'I`HE UNITED STA'I'ES DISTRICT COURT
FOR THE WESTERN DIS'I‘RIC'I' OF TENNESSEE
WESTE.'RN DIVISION

Page|D 54

.W

 

UNITED STATES OF AMERICA

Plaintiff,

aé:, AJ..,,, Az.¢./

 

 

)
)
)
)
)
)
)
)
)
)
)
)
)
)
}

Defendant(s).

criminal No. K- jac Mi

(180-Day Continuance)

 

REPORT ON FUGITIVE S'I'A'I’US AND RESET'I`ING

 

As indicated by the signature of counsel for the United

States, through its Assistant United States Attorney,

this case

remains an active case and there are continuing efforts to locate

the above-referenced fugitive defendant(s). A follow-up report

on efforts to bring the above-referenced fugitive defendant(s)

before the Court will be made on Tuesdav, December 20, 2005, at

lQ;§£LJLJLL

so 0RDERED this 24th day of June, 2005.

wme

 

JO PHIPPS MCCALLA

AN_/ ITED S'I'A'I‘ES DIS'I'RICT JUDGE

Assfstant United States Attorney

This docL ment entered on the docket sheet In compliance

with R\lle 55 andlo|’ 32lb) FFICI'P 0|'|

   

UNITED sTATE DRISTIC COURT - W'"ERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:98-CR-20302 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

